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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, et al                                 :        CIVIL ACTION
                Plaintiffs,                          :
                                                     :
                 v.                                  :
                                                     :        NO. 17-cv-05421-WB
CITY OF PHILADELPHIA et al                           :
                Defendants.                          :

                                                    NOTICE

          A settlement conference will be held on November 2, 2018 at 10:00 a.m.,
before the Honorable Richard A. Lloret, United States Magistrate Judge. Please report to
the James A. Byrne U.S. Courthouse, 601 Market Street, Room 4006
(Chambers), Philadelphia, PA 19106. A status telephone call will be held one week
before on October 26, 2018 at 10:00 a.m. Plaintiff’s counsel shall initiate the call to
chambers (267-299-7410) once all defense counsel are on the line.

                      •   Plaintiff(s) must make a demand no later than two weeks
                          before the settlement conference. Defendant(s) must
                          make an offer no later than one week before the
                          conference.

                      •   Please notify the court by joint telephone conference one
                          week before the conference if settlement is not a real
                          possibility, for example, if the defendant will not make an
                          offer or will offer only nuisance value.

                      •   Counsel is responsible to have clients with full settlement
                          authority physically present for the duration of the
                          conference. 1 A call for additional authority to settle
                          ordinarily means that the in-person representative did
                          not have full settlement authority.

          Please complete the attached summary and e-mail it to Chambers at
sheila_mccurry@paed.uscourts.gov on or before October 26, 2018 (one week prior
to the settlement conference).

                                                          /s/ Sheila McCurry
                                                          SHEILA MCCURRY
                                                          Courtroom Deputy to the
                                                          Honorable Richard A. Lloret
                                                          U.S. Magistrate Judge
                                                          267-299-7410
Date: October 16, 2018

        1
          Each entity with an interest in the case (for instance, an insurance company and the insured) must have a
person with full settlement authority in attendance.
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                     SETTLEMENT CONFERENCE SUMMARY


CAPTION:


DISTRICT COURT JUDGE:                                             JURY / NONJURY
                                                                    (Circle One)
      TRIAL/POOL DATE:

COUNSEL ATTENDING THE SETTLEMENT CONFERENCE:

   Name:

   Address:

   Phone:

   Client:

CLIENT ATTENDING THE SETTLEMENT CONFERENCE:

       Name of the person with full settlement authority who will be present at the
settlement conference (include the person’s company and position where applicable):



MOTIONS PENDING:




OTHER RELEVANT MATTERS:




DEMAND AND OFFER:




                 ATTACH A ONE PAGE SYNOPSIS OF THE CASE.
